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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
LabMD, Inc., Petitioner,
       v.                                  No. 1:19-MI-00071
Federal Trade Commission,
       Respondent.

               FTC’S UNOPPOSED MOTION FOR EXTENSION
                 OF TIME TO FILE SUPPLEMENTAL BRIEF
      The Federal Trade Commission respectfully requests a 17-day extension of

the time in which to respond to LabMD’s supplement to its request for attorney’s

fees, from August 13, 2019 until August 30, 2019.

      In support of the motion, the FTC states the following:

      1.       LabMD’s petition for attorney’s fees is before this Court on referral

from the Eleventh Circuit. This Court held a status conference on June 13, 2019, at

which it (1) permitted LabMD to supplement the record with unredacted copies of

bills that were heavily redacted in LabMD’s original fee petition; (2) allowed the

FTC to file a supplemental response to the petition; and (3) allowed LabMD to file

a reply.

      2.       The Court entered an order on June 24, 2019, setting LabMD’s initial

deadline as July 15, the FTC’s brief two weeks later, and LabMD’s response two

weeks after that.




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      3.       On July 11, the Court granted LabMD’s unopposed motion to extend

its deadline by 16 days to July 31, 2019. LabMD filed its unredacted bills on July

30 and the FTC’s supplemental response is therefore due on August 13.

      4.       The FTC’s new deadline falls smack in the middle of its lead

counsel’s previously scheduled family vacation, which will take him out of the

country from August 7 until August 23, 2019.

      5.       The FTC therefore respectfully requests an equivalent extension of the

time for its supplemental brief, from August 13 until August 30.

      6.       Counsel for the FTC conferred with counsel for LabMD regarding this

motion and is authorized to represent that LabMD does not oppose the extension.

      For the reasons described above, the FTC requests a 17-day extension (until

August 30, 2019) of the time to file its supplemental response to LabMD’s fee

request.


                                                Respectfully submitted,




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2019 I filed the foregoing with the Court’s
appellate CM-ECF system, and that I caused the foregoing to be served through the
CM-ECF system on counsel of record for petitioner, who is a registered ECF user.



                                      /s/ Theodore (Jack) Metzler
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